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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF INDIANA
                                       HAMMOND DIVISION

IN RE:                                                )
                                                      )
DEBORAH K. SALLADE,                                   )         CASE NO.: 14-20183
                                                      )
                  Debtor.                             )         Chapter 7
                                 PRELIMINARY INVENTORY REPORT
                               AND REQUEST FOR NOTICE TO CREDITORS

         Comes now Kenneth A. Manning, Chapter 7 Trustee, and respectfully shows:

         1.       I am the Trustee for the above-incaptioned Debtor, having been appointed on January 29, 2014.

         2.       As Trustee, I have constructively taken possession of all property shown on the Schedules filed by

                  the Debtor and adopt the same as my preliminary inventory; specifically, I anticipate estate assets

                  and will have approximately $1,500.00 as a result of said activities.

         3.       The above monies will be deposited in a certain account at Rabobank, N.A..

         4.       Pursuant to Federal Rule of Bankruptcy Procedure 3002 (c) (5), I request that the Bankruptcy

                  Clerk notify creditors that a payment of dividend appears possible in this case.



                                                                /s/ Kenneth A. Manning, Trustee
                                                                Kenneth A. Manning, Trustee
                                                                200 Monticello Drive
                                                                Dyer, Indiana 46311
                                                                219-865-8376

                                          CERTIFICATE OF SERVICE

         I, hereby certify that on April 9, 2014, service of a true and complete copy of the above document was served
by:

Electronic Notice:
United States Trustee – ustregion10.soecf@usdoj.gov
Daniel W. Matern - dmatern@mm-bklaw.com
And by regular mail upon:
Deborah K Sallade, 1606 Lake Ave., Whiting, IN 46394

                                                                         /s/ Kenneth A. Manning, Trustee
                                                                         Kenneth A. Manning, Trustee
